                Case 2:16-cv-01087-DSC Document 1 Filed 07/22/16 Page 1 of 6



 1                       UNITED STATES DISTRICT COURT
                                   FOR THE
 2
                       WESTERN DISTRICT OF PENNSYLVANIA
 3

 4
     SANDRA DEBALDO,                         )
 5                                           )
                   Plaintiff                 )    Case No.:
 6         v.                                )
 7
                                             )    COMPLAINT AND DEMAND FOR
     MEDICREDIT, INC.,                       )    JURY TRIAL
 8                                           )
                   Defendant                 )    (Unlawful Debt Collection Practices)
 9
                                             )
10

11
                                       COMPLAINT
12
           SANDRA DEBALDO (“Plaintiff”), by and through her attorneys, KIMMEL
13

14
     & SILVERMAN, P.C., alleges the following against MEDICREDIT, INC.

15   (“Defendant”):
16
                                     INTRODUCTION
17
           1.      Plaintiff’s Complaint is based on the Fair Debt Collection Practices
18

19   Act, 15 U.S.C. § 1692 et seq. (“FDCPA”).

20                             JURISDICTION AND VENUE
21
           2.      Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d),
22
     which states that such actions may be brought and heard before “any appropriate
23

24   United States district court without regard to the amount in controversy,” and 28
25

26

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28
                                    PLAINTIFF’S COMPLAINT
                Case 2:16-cv-01087-DSC Document 1 Filed 07/22/16 Page 2 of 6



 1   U.S.C. § 1331 grants this court original jurisdiction of all civil actions arising
 2
     under the laws of the United States.
 3
           3.      Defendant conducts business in the Commonwealth of Pennsylvania
 4

 5   and as such, personal jurisdiction is established.

 6         4.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).
 7
                                            PARTIES
 8
           5.      Plaintiff is a natural person residing in Pittsburgh, Pennsylvania
 9

10   15215.
11
           6.      Plaintiff is a “consumer” as that term is defined by 15 U.S.C.
12
     §1692a(3).
13

14
           7.      Defendant is a national debt collection company with its corporate

15   headquarters located at 3 Cityplace Drive, Suite 690, St. Louis, Missouri 63141.
16
           8.      Defendant is a “debt collector” as that term is defined by 15 U.S.C. §
17
     1692a(6), and repeatedly contacted Plaintiff in an attempt to collect a debt.
18

19         9.      Defendant acted through its agents, employees, officers, members,

20   directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
21
     representatives, and insurers.
22
                                FACTUAL ALLEGATIONS
23

24         10.     Defendant has been calling Plaintiff in their attempts to collect

25   medical debt owed to the University of Pittsburgh Medical Center that was
26

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28
                                      PLAINTIFF’S COMPLAINT
               Case 2:16-cv-01087-DSC Document 1 Filed 07/22/16 Page 3 of 6



 1   incurred for personal, household or family purposes.
 2
             11.    Between July 2015 and July 2016, Defendant repeatedly contacted
 3
     Plaintiff on her cellular telephone in its attempts to collect this alleged medical
 4

 5   debt.

 6           12.    Plaintiff told Defendant that she was unable to pay this debt, was
 7
     disabled and unemployed, and requested that Defendant stop calling her in 2015.
 8
             13.    Once Defendant was informed that its calls were unwanted and to
 9

10   stop calling, there was no lawful to making further calls, nor was there any good
11
     faith reason to place calls.
12
             14.    Plaintiff has repeatedly told Defendant that she is not employed, can’t
13

14
     afford to make any payments and to stop calling her through July 2016.

15           15.    It was aggravating, annoying and harassing for Plaintiff to receive
16
     continuous collection calls on her cellular telephone.
17
             16.    Defendant also threatened to pursue legal action against Plaintiff
18

19   during a call made in July 2016.

20           17.    Upon information and belief, Defendant did not intend to take legal
21
     action against Plaintiff.
22
             18.    After Plaintiff’s repeated requests to stop calling were ignored by
23

24   Defendant, she had no other option but to block Defendant’s calls using a blocking

25   application.
26

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28
                                      PLAINTIFF’S COMPLAINT
              Case 2:16-cv-01087-DSC Document 1 Filed 07/22/16 Page 4 of 6



 1         19.    Finally, Defendant failed to send anything in writing to Plaintiff
 2
     setting forth her rights pursuant to the FDCPA.
 3
                              COUNT I
 4
           DEFENDANT VIOLATED §§ 1692d AND 1692d(5) OF THE FDCPA
 5
           20.    A debt collector violates § 1692d by engaging in any conduct the
 6

 7
     natural consequence of which is to harass, oppress, or abuse any person in

 8   connection with the collection of a debt.
 9
           21.    A debt collector violates § 1692d(5) by causing a telephone to ring or
10
     engaging any person in a telephone conversation repeatedly or continuously with
11

12   intent to annoy, abuse, or harass any person at the called number.

13         22.    Defendant violated §§ 1692d and 1692d(5) when it placed repeated
14
     harassing telephone calls to Plaintiff’s cellular telephone, often multiple calls per
15
     day even though Plaintiff repeatedly requested their calls to stop.
16

17                            COUNT II
              DEFENDANT VIOLATED §§1692e, 1692e(5), and 1692e(10)
18                          OF THE FDCPA
19
           23.    A debt collector violates § 1692e(5) by threatening to take action that
20
     cannot legally be taken or is not intended to be taken.
21

22         24.    A debt collector violates § 1692e by using any false, deceptive, or
23
     misleading representation or means in connection with the collection of any debt
24
           25.    A debt collector violates § 1692e(10) by use of any false
25

26
     representation or deceptive means to collect or attempt to collect any debt or to

27                                           -4-

28
                                     PLAINTIFF’S COMPLAINT
              Case 2:16-cv-01087-DSC Document 1 Filed 07/22/16 Page 5 of 6



 1   obtain information concerning a consumer.
 2
           26.    Defendant violated §§1692e, 1692e(5) and 1692e(10) when it
 3
     threatened to pursue legal action against Plaintiff if the alleged debts weren’t paid.
 4

 5                              COUNT III
                  DEFENDANT VIOLATED § 1692g OF THE FDCPA
 6

 7
           27.    A debt collector violates §1692g if within five days after initial

 8   communication with a consumer, the debt collector fails to send the consumer a
 9
     written notice containing (1) the amount of the debt; (2) the name of the creditor to
10
     whom the debt is owed; (3) a statement that unless the consumer, within thirty
11

12   days after receipt of the notice, disputes the validity of the debt, or any portion

13   thereof, the debt will be assumed to be valid by the debt collector; (4) a statement
14
     that if the consumer notifies the debt collector in writing within the thirty-day
15
     period that the debt, or any portion thereof, is disputed, the debt collector will
16

17   obtain verification of the debt or a copy of a judgment against the consumer and a
18   copy of such verification or judgment will be mailed to the consumer by the debt
19
     collector; and (5) a statement that, upon the consumer's written request within the
20
     thirty-day period, the debt collector will provide the consumer with the name and
21

22   address of the original creditor, if different from the current creditor.
23
           28.    Defendant violated § 1692g by failing to send written notification,
24
     within five (5) days after its initial communication with Plaintiff, advising her of
25

26
     her rights to dispute the debt or request verification of the debt.

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                                      PLAINTIFF’S COMPLAINT
               Case 2:16-cv-01087-DSC Document 1 Filed 07/22/16 Page 6 of 6



 1          WHEREFORE, Plaintiff, SANDRA DEBALDO, respectfully prays for a
 2
     judgment as follows:
 3
                   a.      All   actual     damages     suffered   pursuant   to   15   U.S.C.
 4

 5                         §1692k(a)(1);

 6                 b.      Statutory damages of $1,000.00 for the violation of the FDCPA
 7
                           pursuant to 15 U.S.C. §1692k(a)(2)(A);
 8
                   c.      All reasonable attorneys’ fees, witness fees, court costs and
 9

10                         other litigation costs incurred by Plaintiff pursuant to 15 U.S.C.
11
                           §1693k(a)(3); and
12
                   d.      Any other relief deemed appropriate by this Honorable Court.
13

14
                                 DEMAND FOR JURY TRIAL

15          PLEASE TAKE NOTICE that Plaintiff, SANDRA DEBALDO, demands a
16
     jury trial in this case.
17
                                                 RESPECTFULLY SUBMITTED,
18

19   Date: 7/22/2016                       By: /s/ Amy L. Bennecoff Ginsburg
20                                                Amy L. Bennecoff Ginsburg
                                                  Kimmel & Silverman, P.C.
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                                          PLAINTIFF’S COMPLAINT
